Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 1 of 44


                             EXHIBIT 2
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 2 of 44


                             U.S. Department of the Interior
                                   Record of Decision
                       Trinity River Mainstem Fishery Restoration
           Final Environmental Impact Statement/Environmental Impact Report
                                     December 2000

I. Introduction and Statement of Decision

       he Trinity and Klamath Rivers in northern California once teemed with bountiful runs of
       salmon and steelhead. Historically, hundreds of thousands of salmon and steelhead would
       enter the Klamath estuary and migrate upstream during several months of the year. After
traveling through the lower 44 miles of the Klamath River, many of these fish would turn south
at the confluence of the Trinity River and continue their journey to the middle and upper Trinity
River. Adult salmon and steelhead would spawn in the clean gravels of the mainstem Trinity and
several of its tributaries. Millions of young salmonids would then emerge from the gravel
between January and June and rear in the diversity of habitats found in the river. The young of
some species would begin their downstream migration to the Pacific Ocean within a few months
of emerging from the gravel where they were spawned. Others remained in the river for a year or
more before beginning their downstream migration. All of these fish would grow as they moved
downstream through the Trinity, lower Klamath Rivers and Klamath estuary, undergoing
physiological changes in preparation for life in the ocean. Suitable habitat and water quality
were critical for the young salmon and steelhead during every stage of their outmigration in order
for them to grow and become physically able to tolerate the transition to ocean life. After several
years in the ocean fish return to the Klamath River as adults and once again begin the upstream
migration to the Trinity River to spawn in their natal streams.

These impressive fish stocks defined the life and culture of the Hoopa Valley and Yurok Indian
Tribes, and reservations were established along the Trinity and lower Klamath Rivers in the mid-
to late-1800s based in large part on the Tribes’ reliance on these resources. The abundance of the
region’s fishery resources also helped support the economy and way of life for the people of the
region as a whole.

The once majestic runs in the Trinity River experienced significant declines following the
construction and operation of the Central Valley Project’s Trinity River Division (TRD) in the
early 1960s. The TRD not only eliminated 109 miles of important salmonid habitat above
Lewiston, California, but also exported to the Sacramento River as much as 90 percent of the
waters flowing into the Trinity River at Lewiston, California. In authorizing the TRD, Congress
believed water excess to the needs of the Trinity Basin could be diverted to the Central Valley
while still ensuring the preservation and propagation of the Trinity Basin’s fish and wildlife
resources. Since the precipitous fishery declines, Congress has enacted several pieces of
legislation directing the restoration of fish populations in the Trinity River. In addition to various
multi-jurisdictional efforts over the years, the U.S. Fish and Wildlife Service (Service), in
conjunction with the Hoopa Valley Tribe, completed the Trinity River Flow Evaluation Study


Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                  1
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 3 of 44


(TRFES) in 1999 which sought to determine instream flows and other measures necessary to
restore and maintain the Trinity River’s fishery.

This Record of Decision (ROD) culminates nearly twenty years of detailed, scientific efforts,
conducted over the course of the past four Administrations, and documents the selection of
actions determined to be necessary and appropriate to restore and maintain the anadromous
fishery resources of the Trinity River. These actions, and other potential alternative actions, have
been described and fully evaluated pursuant to the National Environmental Policy Act of 1969,
as amended (NEPA), and the California Environmental Quality Act (CEQA) in both a draft and
the Final Environmental Impact Statement/Environmental Impact Report (FEIS/EIR) (October
2000b), herein incorporated by reference. The Service, the Bureau of Reclamation
(Reclamation), the Hoopa Valley Tribe, and the County of Trinity, California jointly prepared the
DEIS/EIR and the FEIS/EIR. The necessity for these actions results from the various statutory
obligations of the Department as well as the federal trust responsibility to the Hoopa Valley and
Yurok Indian Tribes.

For the reasons expressed in this ROD, the Department’s agencies are directed to implement the
Preferred Alternative as described in the FEIS/EIR and as provided below. This alternative best
meets the statutory and trust obligations of the Department to restore and maintain the Trinity
River’s anadromous fishery resources, based on the best available scientific information, while
also continuing to provide water supplies for beneficial uses and power generation as a function
of Reclamation’s Central Valley Project (CVP).

In making this decision, the information and analyses contained in the FEIS/EIR have been
reviewed and considered in detail, including; 1) the various alternatives considered to achieve the
statutory and trust obligations imposed upon the Department, 2) the environmental and other
factors relevant to making this decision, 3) the mitigation available to reduce or eliminate
negative impacts which could result from this decision, 4) the comments received on both the
DEIS/EIR and the FEIS/EIR, and 5) the Biological Opinions from the Service and the National
Marine Fisheries Service (NMFS), also incorporated by reference, which evaluate the impacts of
implementing the Preferred Alternative to species listed pursuant to the Endangered Species Act.
Sufficient legal authority exists to implement this decision.

This decision recognizes that restoration and perpetual maintenance of the Trinity River’s fishery
resources require rehabilitating the river itself, restoring the attributes that produce a healthy,
functioning alluvial river system. Therefore, the components of the selected course of action
include:

•      Variable annual instream flows for the Trinity River from the TRD based on forecasted
       hydrology for the Trinity River Basin as of April 1st of each year, ranging from 369,000
       acre-feet (af) in critically dry years to 815,000 af in extremely wet years;




Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                 2
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 4 of 44


•      Physical channel rehabilitation, including the removal of riparian berms and the
       establishment of side channel habitat;

•      Sediment management, including the supplementation of spawning gravels below the
       TRD and reduction in fine sediments which degrade fish habitats;

•      Watershed restoration efforts, addressing negative impacts which have resulted from land
       use practices in the Basin; and

•      Infrastructure improvements or modifications, including rebuilding or fortifying bridges
       and addressing other structures affected by the peak instream flows provided by this
       ROD.

The selected alternative also includes an Adaptive Environmental Assessment and Management
(AEAM) Program. The AEAM Program, guided by a Trinity Management Council (TMC)
established as part of this decision and by sound scientific principles, will ensure the proper
implementation of these measures, conduct appropriate scientific monitoring and evaluation
efforts, and recommend possible adjustments to the annual flow schedule within the designated
flow volumes provided for in this ROD or other measures in order to ensure that the restoration
and maintenance of the Trinity River anadromous fishery continues based on the best available
scientific information and analysis.

This ROD and its attachments: 1) provide background information about the necessity for and
development of the chosen action; 2) describes the alternatives considered in reaching the
decision, including the environmentally preferred alternative; 3) summarizes the key provisions
of the decision; 4) presents the rationale for and critical issues considered in making the decision;
5) describes mitigation measures available (and other environmental commitments) to avoid or
minimize environmental harm that may result from implementing the decision; 6) reviews the
public involvement process conducted during these efforts; and 7) discusses comments received
on the FEIS/EIR.

II. Background

A. Historic Trinity River and its Resources

Historically, the Trinity River achieved attention and fame for its abundance of salmon and
steelhead. Annual salmon runs in the Klamath Basin, including the Trinity River as its largest
tributary, once reportedly totaled approximately 500,000 salmon. At the peak of the salmon
cannery industry, which dominated the area at the turn of the 20th century, approximately
141,000 salmon were harvested and canned within the Klamath estuary (Snyder 1931).Various
investigations made prior to construction of Lewiston and Trinity dams provide estimates of the
historic numbers of fish in the Trinity. Estimates of the number of fall chinook salmon that
migrated above the North Fork Trinity River before construction of the dams range from


Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                 3
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 5 of 44


approximately 19,000 to over 75,000 (TRFES,1999) (see FEIS/EIR, Appendix B for further
details of the fishery resources of the Trinity).

The fishery and other resources of the Trinity River and the lower Klamath River Basins defined
the life and culture of area Indians since time immemorial. Salmon and other fish historically
provided the primary dietary staple for the Indians in the area; prior to non-Indian settlement in
the basin, reports indicate that local Indians consumed over 2 million pounds of salmon annually.
 The fishery resources supported commercial and subsistence economies for the Indians and also
played a significant role in their religious beliefs. Fishery resources of the area have been
characterized as “not much less necessary to the existence of the Indians than the atmosphere
they breathed.” Blake v. Arnett, 663 F.2d 906, 909 (9th Cir. 1981) (quoting United States v.
Winans, 198 U.S. 371, 381 (1905)). As previously described by the Department’s Solicitor, a
specific, primary purpose for establishing the reservations of the Hoopa Valley and Yurok Tribes
in the mid- to late-1800s–which are bisected by the Trinity and lower Klamath Rivers,
respectively–“was to secure to these Indians the access and right to fish without interference from
others” in order to preserve and protect their right to maintain a self-sufficient livelihood from
the abundance provided by the rivers (Memorandum from Solicitor to Secretary, Fishing Rights
of the Yurok and Hoopa Valley Tribes, M-36979, at 15, 18-21 (Oct. 4, 1993)).

B. Planning and Construction of the CVP’s Trinity River Division

Over time and with the increase of populations and development in California, particularly in the
Central Valley, efforts focused on the Trinity River as a resource to supplement the needs of
other areas of California. Initial plans to divert Trinity River water to the Sacramento River were
included in the California State Water Plan in the 1930s, but later dropped. Proposals were
reinitiated in the late 1940s, and the Department provided to Congress reports and findings on a
proposed plan of development in the early 1950s. These reports indicated that more than 1.1
million af of inflow occurred on average from the upper Trinity River Basin above Lewiston.
Based on these reports, Congress concluded that water “surplus” to the present and future water
needs of the Trinity and Klamath Basins–then estimated at approximately 700,000 af and
considered “wasting to the Pacific Ocean”--could be diverted to the Central Valley “without
detrimental effect to the fishery resources.” (H.R. Rep. No. 602, 84th Cong., 1st Sess. 4-5 (1955);
S. Rep. No. 1154, 84 Cong., 1st Sess. 5 (1955)). In fact, the underlying reports suggested that
development of the Trinity River Division, and the resulting diversions, would not only maintain
but also improve fishery conditions in the Trinity River, with as little as 120,500 af of water per
year from above Lewiston dedicated to the fishery. Based on these understandings, Congress
passed legislation authorizing the Trinity River Division (TRD) on August 12, 1955 (Pub. L. No.
84-386) (1955 Act). Although Congress authorized the TRD as an integrated component of the
CVP, section 2 of the 1955 Act specifically directed the Secretary of the Interior to ensure the
preservation and propagation of fish and wildlife in the Trinity Basin through the adoption of
appropriate measures.

C. Impacts Caused by the TRD and Early Efforts to Address those Impacts


Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               4
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 6 of 44


Unfortunately, construction and operation of the TRD resulted in unintended, yet severely
detrimental impacts to the Trinity River and its fish populations. Early studies suggested that
low flows could possibly sustain spawning populations of salmonids below Lewiston (Moffet
and Smith 1950, USFWS and CDFG 1956). These and other early studies focused more on
chinook salmon spawning populations than on other species or lifestages, and did not entirely
account for the geomorphic changes that would occur under a reduced flow in the mainstem.
Relying upon these early studies, TRD diversions to the Central Valley averaged nearly 90
percent of the upper Trinity Basin inflow for the first ten years of full TRD operations, with the
TRD exporting on average 1,234,000 af annually from the 1,396,000 af total average inflow into
Trinity Lake (formerly Clair Engle Reservoir). Construction of the two dams on the Trinity
River, Trinity and Lewiston Dams, also resulted in the loss of all upstream spawning and rearing
habitat. As subsequent studies have shown, the TRD also caused the rapid degradation of fish
habitats below the dams, through the elimination of gravels from above the dams necessary for
spawning habitat and the inability of the substantially reduced and static flows from the TRD to
flush fine sediments from the existing gravels. The resulting channelization of the river (in
which riparian vegetation encroached upon the channel, trapped fine sediments, and formed
fossilized berms) further degraded available habitats.

At the same time that fish were forced to use a much smaller amount of area, the quality of
habitat below Lewiston began to decline almost immediately following completion of the dams.
Gravels necessary for spawning habitat were trapped above the dams. Deep pools that were
essential for holding adults began to fill with fine sediment. Since flows were no longer sufficient
to move fine sediment from tributary flows out of the mainstem, gravel and cobble became
compacted with sand and silt rendering spawning gravels unsuitable for salmon reproduction. As
sand accumulated along the banks of the river, the shape of the Trinity below Lewiston changed
from a meandering alluvial river with large cobble bars to a narrow, steep-sided channel.
Moderate flows that resulted from tributary floods resulted in greatly increased water velocity in
the mainstem without resultant increases in useable habitat because most flow was contained
within the main channel and not connected with the historic floodplain.

Within a decade, salmon and steelhead populations declined significantly. Various efforts
(including the formation of a task force of federal, state, tribal, and local agencies) began
evaluating the effects on the Trinity River’s fishery resources and the likely causes for these
declines. The Service completed an EIS in 1980 which estimated fish population reductions of
60 to 80 percent since completion of the TRD. Subsequent studies have also indicated extensive
reductions in fish populations (see Appendix B of the FEIS/EIR). The 1980 EIS attributed this
severe and rapid depletion of fish populations to three causative factors: inadequately regulated
harvest, excessive streambed sedimentation, and insufficient streamflows. The latter two
elements impact key components of salmonid habitat. In fact, the EIS estimated the loss of
fishery habitats in the Trinity River Basin to be 80 to 90 percent. Thus, shortly after construction
of the TRD, the Trinity River no longer provided the abundant resources and pristine area that
the public treasured and resident Tribes depended upon for physical and spiritual sustenance.
Degradation of Trinity River fishery habitat was one of the reasons for listing of Southern
Oregon/Northern California Coast (SONCC) coho salmon (Oncorhynchus kisutch) as threatened

Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                 5
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 7 of 44


under the Endangered Species Act (May 6, 1997, 62 FR 24588).

The 1980 EIS recognized that all factors attributed to salmonid losses must be addressed. Tribal
harvest, commercial harvest and sport harvest have been restricted over time. The 1980 EIS also
concluded, however, that insufficient streamflows represented the most critical limiting factor
and that increasing flows was a necessary first step to the restoration of the Trinity River
fisheries. Contemporary legal opinions of the Department considered the ability to increase
streamflows in light of the 1955 Act and concluded that section 2 of that Act requires that the
instream flow needs of the Trinity Basin must be met first prior to exporting water to the Central
Valley (e.g., Memorandum from the Solicitor to Assistant Secretary – Land and Water
Resources, Proposed Contract with Grasslands Water District (December 7, 1979)).

D. 1981 Andrus Decision

The 1980 EIS did include interim flow recommendations, but also recommended a more
complete analysis. Former Secretary of the Interior Cecil D. Andrus considered the findings of
the 1980 EIS as well as the statutory and tribal trust responsibilities involved. With respect to
the trust obligations of the Department, Secretary Andrus found that:

       the Hupa and Yurok Indians have rights to fish from the Trinity and Klamath
       Rivers . . . These rights are tribal assets which the Secretary, as trustee, has an
       obligation to manage for the benefit of the tribes. The Secretary may not abrogate
       these rights even if the benefit to a portion of the public from such an abrogation
       would be greater than the loss to the Indians.

Secretarial Issue Document, Trinity River Fishery Mitigation, at 3 (January 1981) (1981 SID).
The Secretary also found that the trust obligation “includes both a duty to preserve the trust assets
and to make them productive.” The Secretary concluded that the statutory and trust obligations
of the Department compelled the restoration of the Trinity River anadromous fishery to pre-TRD
levels. Therefore, Secretary Andrus directed the Service to complete a 12-year study which
would assess the effectiveness of flow and habitat restoration efforts and make recommendations
on measures necessary to address the fishery impacts attributable to the TRD consistent with the
Department’s obligations.

E. Congressional Direction to Address the Impacts

At this same time, Congress also turned to the growing problems facing the Trinity River and its
dwindling fishery resources. The first step came in 1980 with the passage of the Trinity River
Stream Rectification Act (Pub. L. No. 96-335) which aimed to control sand deposition problems
resulting from the degraded Grass Valley Creek watershed, a tributary of the Trinity River, and
the inability of the low annual mainstem flows to flush these sediments through the system. In
1984, Congress passed the second, more critical step – the Trinity River Basin Fish and Wildlife
Management Act (Pub. L. No. 98-541). The 1984 Act made findings similar to those in the 1980
EIS and recognized that TRD operations substantially reduced instream flows in the Trinity

Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                  6
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 8 of 44


River, resulting in degraded fish habitat and consequently a drastic reduction in anadromous fish
populations. The 1984 Act directed the Secretary to develop a management program to restore
fish and wildlife populations in the Basin to levels approximating those that existed immediately
before TRD construction began. The program would include measures to rehabilitate fish
habitats in the mainstem Trinity River and its tributaries below Lewiston Dam, increase the
effectiveness of the Trinity River Fish Hatchery, and monitor fish and wildlife populations and
the effectiveness of rehabilitation efforts. The program would also include any other activities
necessary to achieve the restoration goals. Amendments to the 1984 Act redefined its restoration
goals so that the fishery restoration would be measured not only by returning anadromous fish
spawners, but also by the ability of dependent tribal and non-tribal fishers to participate fully in
the benefits of restoration through meaningful harvest opportunities. (These restoration goals
were reaffirmed through enactment of the Trinity River Fish and Wildlife Management
Reauthorization Act of 1995, Pub. L. No. 104-143, May 15, 1996).

Congress provided the third step with the passage of the Central Valley Project Improvement Act
(CVPIA) in 1992. The CVPIA listed among its purposes the need “to protect, restore, and
enhance fish, wildlife, and associated habitats in the Central Valley and Trinity River Basins”
and the need “to address impacts of the Central Valley Project on fish, wildlife, and associated
habitats.” Although the CVPIA includes several provisions related to the TRD, the primary
Congressional direction occurs in section 3406(b)(23). Pending completion of the TRFES and
implementation of it recommendations, Congress set the minimum flow volume in the Trinity
River at not less than 340,000 af based on the supplemental Secretarial Decision signed by
former Secretary of the Interior Manuel Lujan in 1991. The Trinity provision of the CVPIA
specifically directed the completion of the 12-year study (TRFES) called for by Secretary Andrus
“in a manner which insures the development of recommendations, based on the best available
scientific data, regarding permanent instream fishery flow requirements and [TRD] operating
criteria and procedures for the restoration and maintenance of the Trinity River fishery.” Upon
concurrence of the Secretary and the Hoopa Valley Tribe, the provision Congressionally
mandates the Secretary to implement the recommendations from the study accordingly. That
statute also provides that if the secretary and the Hoopa Valley Tribe do not concur, the flows in
the Trinity River may be increased by an Act of Congress, appropriate judicial decree, or
agreement between the Secretary and the Hoopa Valley Tribe.

F. Trinity River Flow Evaluation Study

Following the 1981 Secretarial Decision, the Service developed a plan of study and began the
TRFES. Four annual flow volumes were to be evaluated under the TRFES: 140,000 af, 220,000
af, 287,000 af and 340,000 af. Release schedules for each of the water volumes were to be
assessed for their ability to meet criteria necessary to restore and maintain the fishery resources
of the Trinity River. The TRFES report was also to recommend specifically what actions should
be continued, eliminated or implemented to mitigate fish population declines attributable to the
TRD.

Flow evaluation studies were conducted annually between 1983 and 1994 by Service biologists

Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                 7
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 9 of 44


in Lewiston. Scientists and technicians from several agencies and tribes working under direction
of the 1984 Act coordinated with TRFES biologists to implement recommendations developed
during the TRFES annual studies.

The Service and Hoopa Valley Tribe released the TRFES in June 1999. Their report concluded
that the flow “alternatives” identified for study in the 1981 Secretarial Decision cannot meet the
biological and geomorphic habitat requirements necessary to restore naturally produced salmonid
populations in the mainstem Trinity River. The TRFES recommended specific annual flow
releases, sediment management, and channel rehabilitation to create and sustain a dynamic
alluvial channel that will provide the necessary habitat. The Preferred Alternative, as described in
the FEIS/EIR and summarized in this ROD, adopts the recommendations contained in the
TRFES, is based on the extensive scientific studies contained in the TRFES, and is the most
practical and scientifically based restoration strategy.

This ROD represents the culmination of over two decades of efforts aimed at understanding the
necessary instream flow and physical habitat restoration requirements in order to restore the
Trinity River anadromous fishery. Statutory requirements since 1955, based in large part upon
the federal government’s trust obligations to the Hoopa Valley and Yurok Tribes, require the
restoration and maintenance of the Trinity River anadromous fishery resources to pre-dam levels.
It is clear that restoration must provide for a meaningful fishery, not only for the Tribes, but also
for commercial, sport, and recreational fishermen. These important resources represent both
tribal trust and public treasures from which all should benefit - to restore the faith of our tribal
beneficiaries and to improve the economic well-being of the Trinity Basin and North Coast as a
whole.

III. NEPA/CEQA Process

NEPA requires federal agencies to analyze and disclose the environmental effects of their
proposed actions. To ensure full compliance with NEPA, the Service initiated the environmental
review process to develop and assess alternatives aimed at restoring the Trinity River mainstem
fishery by publishing a Notice of Intent (NOI) to prepare an EIS in the Federal Register on
October 12, 1994 (59 Fed. Reg. 25141). Shortly thereafter, Trinity County initiated the
concurrent CEQA process by forwarding a Notice of Preparation (NOP) of an EIR to the State
Clearinghouse on November 16, 1994.

The Service and Trinity County served as the designated lead agencies for NEPA and CEQA
purposes, respectively, for this joint environmental review because of their particular roles in
developing the TRFES and in permitting certain actions in Trinity County. Reclamation and the
Hoopa Valley Tribe also served as co-lead agencies because of their respective interests in this
action. In developing this environmental review, the joint lead agencies relied extensively on the
participation of thirteen local, state, and federal agencies (either cooperating, responsible, or
trustee agencies) as well as involvement by the Yurok and Karuk Tribes. This review also used
six technical teams--led by representatives of the Service, Reclamation, Western Area Power


Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                  8
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 10 of 44


Administration (WAPA), U.S. Army Corps of Engineers (Corps), and the Bureau of Land
Management (BLM)—to address key issues involved in this decision.

This review provided for significant public involvement throughout the process. Numerous
public meetings occurred over the past six years to scope the process; recommend potential
alternatives to be evaluated; identify critical issues, including potential environmental impacts
from implementing various alternatives and other areas of concern; and to inform the public
about the continuing progress for this review. Various issues and concerns identified included:
fishery resources, Tribal trust obligations, CVP agricultural as well as municipal and industrial
(M&I) water supply and reliability, vegetation and wildlife resources, water quality and in-river
temperature, water management, CVP power generation, recreation and recreation economics,
socio-economics, land use, Trinity River flooding, aesthetics (related to reservoir drawdown),
ocean sport and commercial fishing, and upland watershed rehabilitation.

On October 19, 1999, the Service announced the availability of the DEIS/EIR and the
commencement of the public comment period (64 FR 56364). The public comment period
included a series of NEPA/CEQA public hearings held in Redding, Sacramento, Eureka, and
Weaverville in November and December. Although the public comment period was originally
scheduled to end on December 8, 1999, the Service twice extended the time for public comments
(64 FR 67584, 64 FR 72357) to January 20, 2000. A substantial number of letters and postcards
commenting on the DEIS/EIR were received from 6445 people and organizations (1009 letters
and 5436 pre-printed postcards). A list of the commentors and the response of the agencies to
the comments were presented the FEIS/EIR. On November 17, 2000 the Service announced the
availability of the FEIS/EIR (65 FR 69512). See Appendix A for details of the public
involvement process and responses to comments on the FEIS/EIR.

IV. Alternatives

In accordance with NEPA and CEQA, the FEIS/EIR identifies a range of reasonable alternatives,
based on public input, scientific information, and professional judgment. The FEIS/EIR
examined the affected environment and the environmental consequences for numerous
alternatives: 1) No Action Alternative; 2) Maximum Flow Alternative; 3) Flow Evaluation
Alternative; 4) Percent Inflow Alternative; 5) Mechanical Restoration Alternative; 6) State
Permit Alternative, and the 7) Preferred Alternative. These are described in detail in the
FEIS/EIR. In addition, all alternatives were compared to the No Action and Existing Conditions
scenarios, as required by NEPA and CEQA, respectively. The FEIS/EIR considered but rejected
other alternatives, also described in detail in the FEIS/EIR and summarized below.

No Action Alternative: represents ongoing activities and operations and the anticipated future
condition of the affected environment in the year 2020 in the absence of project implementation.
Flow releases to the Trinity River under current operations would remain unchanged which are
340,000 af annually.



Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                  9
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 11 of 44


Maximum Flow Alternative: would use all of the Trinity River inflows above the Trinity Dam
to restore the river ecosystem through managed flows with no water exported to the Sacramento
River system.

Flow Evaluation Alternative: is based on the recommendations in the TRFES and includes
increased variable annual instream flow releases from Lewiston Dam, a coarse sediment
introduction program, 47 new channel projects (mechanical channel rehabilitation), and
implementation of an adaptive management program.

Percent Inflow Alternative: would approximate natural flow patterns, at a reduced scale, by
releasing water into the Trinity River at a proportion of the rate it flows into the Trinity
Reservoir.

Mechanical Restoration Alternative: would use the same water management as the No Action
Alternative (i.e., 340,000 af), but would include constructing 47 new channel projects,
mechanically maintaining these new projects as well as existing projects, dredging 10 pools in
the Trinity River mainstem (most likely on an annual basis), and initiating a watershed protection
program.

State Permit Alternative: would use the minimum flow levels as provided in the 1955 Act and
specified in Reclamation’s seven California water permits issued in 1959. Under this alternative,
Trinity River instream flows would be reduced from the No Action levels of approximately
340,000 af of water per year to 120,000 af.

Preferred Alternative: consists of the Flow Evaluation Alternative which includes increased
variable annual instream flow releases from Lewiston Dam, a coarse sediment introduction
program, 47 new channel projects (mechanical channel rehabilitation), and implementation of an
adaptive management program. Additionally, this alternative includes a watershed restoration
program identical to the watershed protection efforts identified in the Mechanical Restoration
Alternative.

Other Alternatives: Other alternatives were suggested in scooping for the draft EIS. Pages 2-35
through 2-42 of the draft EIS described eight alternatives considered but not forwarded for
further consideration. The alternatives of harvest management, improving fish passage facilities,
trucking fish around the dams, predator control, increased hatchery production, pumped storage,
and channel augmentation using Weaver Creek were eliminated because they would not achieve
the fishery restoration objectives. The alternative of removing Trinity and Lewiston Dams was
not considered a viable alternative because of the environmental impacts, forgone benefits, and
costs associated with dam removal. Other alternatives were suggested in public comments on the
draft EIS/EIR and were evaluated in developing the FEIS/EIR. The Sacramento Municipal
Utility District (SMUD), provided comments that recommended additional mechanical
manipulations and alternative flow schedules. The SMUD alternative was evaluated and
analyzed using the same fishery resource model as the other alternatives contained in the
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000             10
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 12 of 44


FEIS/EIR. As shown in the FEIS/EIR (starting at page D2-37 and also in the specific responses
to SMUD’s comment letter) the SMUD alternative would require a significant amount of
additional annual mechanical restoration in the channel, with associated increased costs, and
would not substantially increase natural production above that anticipated under the Mechanical
Restoration Alternative. As described in the FEIS/EIR(pages D2-35 through D2-38), the other
suggested alternatives were either minor variations of alternatives already examined or would not
meet the physical and biological objectives necessary for recovery of the fishery resources of the
Trinity River and thus did not warrant further consideration in the FEIS/EIR.

Environmentally Preferred Alternative: The Preferred Alternative has been chosen as the
Environmentally Preferred Alternative. The Preferred Alternative will restore the diverse fish
habitat necessary to restore the anadromous fishery of the Trinity River. This alternative also
causes the least damage to the biological and physical environment and best protects, preserves,
and enhances historic, cultural, and natural resources. Implementation of the Preferred
Alternative will not jeopardize the continued existence of any listed species under the
Endangered Species Act, or destroy or adversely modify the critical habitat for any listed species
under the Endangered Species Act. Additionally, the Preferred Alternative also includes a
watershed management plan as well as measures to minimize and mitigate impacts (as outlined
in section V(G) and Appendix C). For these reasons, the Preferred Alternative is the
Environmentally Preferred Alternative.

V. Components of the Decision

For the reasons expressed in this ROD, the Department’s agencies are directed, through the
Trinity Management Council, to implement the Preferred Alternative as described in the
FEIS/EIR and to implement the reasonable and prudent measures described in the NMFS and
Service Biological Opinions. The Preferred Alternative incorporates the recommendations
developed in the TRFES and evaluated under the Flow Evaluation Alternative, coupled with the
additional watershed protection efforts identified in the Mechanical Restoration Alternative.
Although the Secretary retains ultimate authority over this program, by this Record of Decision,
the Trinity Management Council is established which will guide overall implementation of the
management actions of the Implementation Plan.

Reclamation and the Service, as the Secretary’s representatives on the Trinity Management
Council, will be responsible for assuring that the restoration is carried out in a timely manner and
that progress reports are submitted to the Department and to the Congress. On behalf of the
Secretary, Reclamation and the Service should identify sources of funding necessary to
implement the restoration program (FEIS/EIR at pages C-16 and C-17). As with all other federal
programs, implementation is contingent upon Congress appropriating funds.

The suite of actions which make up the Preferred Alternative is designed to restore the Trinity
River mainstem fisheries and avoid or minimize potential adverse effects. Implementation of the
fishery restoration program will involve several components that will be implemented over time.
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               11
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 13 of 44


The Implementation Plan contained in the FEIS/EIR (FEIS/EIR pages C-1 through C-39)
describes in detail the activities which comprise this comprehensive program for Trinity River
mainstem fishery restoration and is adopted as part of this decision. Sufficient information exists
for implementation of certain actions under this decision, and adjustments may be made to
certain elements of the fishery restoration plan based on continuing scientific monitoring and
studies called for in the Adaptive Environmental Assessment and Management Program
(AEAM). The Trinity Management Council, will consult on these actions with the Hoopa Valley
and Yurok Tribes and other responsible Federal, State and local jurisdictions, and private
landowners as appropriate. The main elements of this Decision its Implementation Plan are
summarized below:

A. Variable Annual Flow Regime

Reclamation will provide annual instream flows below Lewiston Dam according to the
recommendations provided in the TRFES and adopted in the FEIS/EIR Preferred Alternative.
The total volume of water released from the TRD to the Trinity River will range from
approximately 369,000 af to 815,000 af, depending on the annual hydrology (water-year type)
determined as of April 1st of each year (see Table 1, Figure 1, and ROD Appendix B). The
recommended flow regimes link two essential purposes deemed necessary to restore and
maintain the Trinity River’s fishery resources: 1) flows to provide physical fish habitat (i.e.,
appropriate depths and velocities, and suitable temperature regimes for anadromous salmonids),
and 2) flows to restore the riverine processes that create and maintain the structural integrity and
spatial complexity of the fish habitats. The environmental effects of implementing this flow
program have been thoroughly analyzed in the FEIS/EIR; no further environmental compliance is
currently anticipated for implementing the flow program. Under this decision and the NMFS and
Service biological opinions, Reclamation’s Operating Criteria and Procedures for the TRD have
been modified to implement the Preferred Alternative’s flows (FEIS/EIR pp C1-C7).

Based on subsequent monitoring and studies guided by the Trinity Management Council, the
schedule for releasing water on a daily basis, according to that year’s hydrology, may be adjusted
but the annual flow volumes established in Table 1 may not be changed. Maximum releases from
Lewiston Dam will not exceed 6,000 or 8,500 cfs depending upon the completion of specific
infrastructure modifications discussed in Section V.E.

                         Water-      Volume       Peak Flow    Peak Flow
                          year      (Acre-feet)     (cfs)       Duration
                         Class                                   (days)

                       Critically    369,000        1,500          36
                          dry
                          Dry        453,000         4,500          5
                        Normal       647,000        6,000           5
                          Wet        701,000         8,500          5
                       Extremely     815,000        11,000          5
                          wet

Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               12
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 14 of 44


Table 1. Volume, Peak Flow and Peak Flow Durations for proposed Flow Schedules for Five Water-Year Types




Figure 1. Flow Hydrograph for Five Water-Year Types (taken from DEIS, p. 2-19)

B. Mechanical Channel Rehabilitation

The Trinity Management Council will guide restoration and maintenance of channel morphology
characteristics modeled based on pre-dam Trinity River channel morphology characteristics. This
restoration, which will be implemented in phases over time, will require removal of riparian
berms at 44 project areas, the establishment of side channel habitat at 3 sites and the use of
increased flow releases to maintain habitat and promote the creation of alternate bar sequences.
Additional environmental planning and environmental compliance steps will be performed as
necessary in order to acquire all the necessary permits and other authorizations prior to
implementation of this portion of the Preferred Alternative.

C. Sediment Management

The Trinity Management Council will guide a program to balance the recruitment of coarse and
fine sediment of the upper river that has been disrupted by the construction and operation of the
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                         13
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 15 of 44


TRD. Lewiston and Trinity dams trap all coarse sediment supply above Lewiston (gravel and
cobble necessary for spawning and rearing habitat). A gravel supplementation program will be
implemented in the reaches below the dam. Restoration of fluvial processes will require
continued input of coarse sediment as gravels are moved and redeposited from increased flows
creating necessary dynamic habitats. Required coarse sediment introductions are anticipated to
average 10,300 cubic yards annually but could range from 0 to 67,000 cubic yards in any one
year depending upon the water year type (Table 2). Reclamation will continue operation and
maintenance of fine sediment (sand) catchment ponds on Grass Valley Creek to prevent fine
sediment from reaching or remaining in the mainstem and degrading spawning and rearing
habitat. Additional environmental planning and environmental compliance steps will be
performed as necessary to acquire all the necessary permits and other authorizations prior to
implementation of this portion of the Preferred Alternative.


                             Water Year       Coarse Sediment Introduction
                                                       (yd3/year)
                             Extremely               31,000-67,000
                             Wet
                             Wet                     10,000-18,000
                             Normal                   1,800-2,200
                             Dry                        150-250
                             Critically                    0
                             Dry

Table 2. Annual coarse sediment replacement estimates for the Lewiston Dam to Rush Creek
Reach. Actual volume will be determined by modeled and measured transport each year.

D. Watershed Restoration

The Trinity Management Council will guide an upslope watershed restoration program to address
the problems of excessive sediment input from many of the tributaries of the Trinity River
resulting from land use practices. The watershed protection program of the Preferred Alternative
includes road maintenance, road rehabilitation and road decommissioning on private and public
lands within the Trinity River basin below Lewiston Dam, including the South Fork Trinity River
basin. Approximately 80 percent of the lands within the Trinity basin are federally managed of
which the USDA Forest Service administers approximately 95 percent and the Bureau of Land
Management administers five percent. Of the remaining 20 percent privately-owned land in the
basin, approximately half (10 percent of the total) are industrial timberlands, with the remainder
being small private holdings. Additional environmental planning and environmental compliance
steps will be performed as necessary in order to acquire all the necessary permits and other
authorizations prior to implementation of this portion of the Preferred Alternative.

E. Infrastructure Improvement
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               14
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 16 of 44


Since construction of the TRD, human encroachment into the historic flood plain has occurred.
Since infrastructure modifications represent a high priority activity for initiating flow changes,
Reclamation will take appropriate steps in a timely manner to ensure that affected bridges,
houses, and out-buildings are structurally improved or relocated or otherwise addressed before
implementing recommended peak releases for Wet or Extremely Wet water years (8,500 and
11,000 cfs, respectively). Additional environmental planning and environmental compliance
steps will be performed as necessary to acquire all the necessary permits and other authorizations
prior to implementation of this portion of the Preferred Alternative.

F. Adaptive Environmental Assessment and Management Program

The Trinity Management Council will establish and guide implementation of an AEAM Program
to monitor the physical and biological results of the implementation plan and guide the
refinement of the flow schedules and other activities contained in this Decision/restoration plan
to ensure that the ultimate goal of restoring the fishery resources of the Trinity River is achieved.
Appendix C of the FEIS/EIR contains a detailed description of the AEAM.

The focus of the AEAM organization is the Trinity Management Council and an AEAM Team
consisting of a Technical Modeling and Analysis Group and a Rehabilitation Implementation
Group. The organization includes a support staff (AEAM Team) of engineers and scientists
charged with assessing the Trinity River fishery restoration progress. The AEAM Team will
coordinate independent scientific reviews of the AEAM organization and may recommend
management changes based on annual assessments of the evaluation of rehabilitation and flow
schedule activities. See FEIS/EIR Appendix pages C-19 though C-29 for a detailed description of
the organization and roles and responsibilities of the Trinity Management Council. The Trinity
Adaptative Management Working Group, a stake holder group whose participation in the
program is described on page C-23 of FEIS/EIR, will be chartered under the Federal Advisory
Committee Act

Nothing in this ROD is intended to preclude watershed restoration and monitoring, provided
funding is available, below the confluence of the Trinity and Klamath Rivers. Because the
TRFES and ROD focus on the Trinity River mainstem and Trinity Basin, watershed restoration
and monitoring that benefit Trinity River fisheries below the confluence of the Trinity and
Klamath Rivers may be considered by the Trinity Management Council.

G. Measures to Minimize and Mitigate Impacts

Since there may be some short-term impacts resulting from modifying river flows, channel
rehabilitation, watershed protection measures, and infrastructure modifications, the Trinity
Management Council will guide efforts to minimize or eliminate potential impacts prior to
implementation. These are described in detail in the FEIS/EIR, listed in ROD Appendix C, and
summarized below.

Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                15
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 17 of 44


The reasonable and prudent measures identified in the NMFS and Service Biological Opinions
will be implemented in an effort to avoid unauthorized take of listed species on the Trinity River,
Sacramento Valley and Delta. The Service will coordinate with the NMFS regarding surveys for
threatened coho salmon presence prior to implementation of habitat rehabilitation on the Trinity
River. The NMFS and Service will coordinate work windows for these projects, as needed. All
permits or other authorizations will be acquired and other environmental compliance
requirements will be satisfied, as necessary, prior to initiation of any program activities.

Surveys for nesting northern spotted owls and bald eagles will occur in suitable habitat within a
0.5 mile radius of a project site prior to beginning work activities utilizing motorized equipment
or chain saws. If a nesting owl is detected within a 0.25 mile radius, scheduled work activities
will not occur from February 1 through July 9; if a nesting eagle is detected within a 0.5 mile
radius, scheduled work activities will not occur from January 1 through August 31. Similar
surveys will occur for watershed protection and restoration efforts in upland areas.

Measures will be taken to minimize any increased sedimentation/turbidity in the mainstem from
mechanical disturbance, such as leaving a small berm at the edge of the channel to trap sediments
until all other work is completed. Turbidity and other Clean Water Act standards, as identified
by the Water Quality Control Plan for the North Coast Region, will be monitored and
maintained. If standards are not met, construction activities will cease until such a time that
operations or alternatives can be completed within compliance standards.

Construction of most project sites will involve removal of riparian vegetation at encroached berm
areas. Construction of these channel rehabilitation sites, as presented in the FEIS/EIR, will
include areas that are re-vegetated with willow, cottonwood and/or other shrub/tree species at
more appropriate locations on the floodplains of the rehabilitation sites. Ultimately, natural
revegetation and more proper riparian function will also occur at project sites as flow regime
changes are implemented.

The lead agencies have executed a Programmatic Agreement (PA) under Section 106 of the
National Historic Preservation Act with the Hoopa Valley Tribe, the State Historic Preservation
Officer for California, and the Advisory Council on Historic Preservation. Under the terms of
the PA, efforts will be undertaken to identify historic properties that may be affected by actions
to be taken under the Preferred Alternative, and measures will be identified and implemented to
avoid, minimize, or mitigate potential adverse effects upon those properties.

The segment of the Trinity River between Cedar Flat and Lewiston Dam (river miles 47.5 to
111.9) is a component of the National Wild and Scenic Rivers System (“System”). The primary
outstanding remarkable value of this section of the Trinity River is recreational. Mitigation
measures intended to address public safety from river flows that are too high or too low will be
implemented as part of the Preferred Alternative (see ROD Appendix C).

VI. Rationale for Decision
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               16
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 18 of 44


As expressed above, the guiding principles for this decision emanate from various Congressional
mandates as well as the federal government’s trust responsibility to the Hoopa Valley and Yurok
Indian Tribes. From the inception of the TRD, Congress directed this Department to ensure the
preservation and continued propagation of the Trinity River’s fishery resources and to divert to
the Central Valley only those waters surplus to the needs of the Trinity Basin. With the drastic
declines in anadromous fish and associated habitats following the TRD’s construction and
operations, Congress subsequently passed a series of legislative initiatives directing the
Department to determine and implement flows and other measures necessary to restore and
maintain these populations to levels which existed prior to the TRD’s inception.

These statutory restoration and preservation directives also comport with the Department’s trust
responsibility to the Hoopa Valley and Yurok Tribes. These Tribes have federally recognized
fishing rights which require sufficient water to make their fishing rights meaningful. The
Department has a trust obligation not only to protect these trust assets but also to make them
productive. Thus, the Department must manage these assets for the benefit of the Tribes so that
they can enjoy a meaningful fishery—for ceremonial, subsistence, and commercial purposes.
Because of the depressed fishery conditions subsequent to the TRD, however, the Tribes have
been increasingly restricted from the enjoyment of their trust resources.

In light of these obligations, the Service, with vital support from the Hoopa Valley Tribe,
conducted an extensive scientific effort to determine the appropriate flows and other measures
necessary to restore and maintain the Trinity River’s anadromous fishery. In section 3406(b)(23)
of the CVPIA, Congress sought the final resolution of these issues in order to meet the federal
trust responsibility and to meet the goals of prior legislation, calling for the completion of the
scientific efforts initiated by Secretary Andrus and for the implementation of recommendations,
based on the best available scientific information, regarding permanent instream fishery flow
requirements and TRD operating criteria and procedures necessary for the restoration and
maintenance of the Trinity River anadromous fishery. These statutory and trust responsibilities
form the basis for the FEIS/EIR’s purpose and need for this action—to restore and maintain the
natural production of anadromous fish below the TRD.

All alternatives and issues raised during the environmental review process were fully considered
and analyzed in making the decision set forth in this ROD. This ROD adopts the analysis
contained in the FEIS/EIR and selects the Preferred Alternative as the necessary and appropriate
action which best meets the statutory and trust obligations of the Department to restore and
maintain the Trinity River’s anadromous fishery resources. The following text summarizes the
rationale for choosing this alternative and the critical issues considered in making this decision.

The best available scientific information indicates that restoring the attributes associated with a
healthy alluvial river—such as alternative bar sequences, effective sediment transport, and
dynamic riparian communities—will best achieve the restoration and maintenance of
anadromous fish populations in the Trinity River. Restoring these geomorphic attributes will
restore the diverse habitats that salmon and steelhead need to survive and successfully reproduce.
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               17
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 19 of 44


This will in turn lead to healthier and more sustainable salmonid populations (and other species)
in the Trinity River Basin.

Based on the information and analysis in the FEIS/EIR, full implementation of the Preferred
Alternative is necessary to restore the diverse fish habitats in the Trinity River below Lewiston
Dam. Improved habitat conditions will in turn benefit rearing and juvenile life stages and
improve juvenile emigration throughout the Trinity system and will also benefit anadromous
species in the lower Klamath River Basin by providing increased juvenile outmigration flows and
lower water temperature. These improved habitat conditions are expected to result in greater
production and substantial increases in anadromous fish populations. Spawner escapement
estimates for chinook and coho salmon and steelhead range from 64-74 percent of the Trinity
River Restoration Program (TRRP) goals following implementation of the Preferred Alternative-
-approximately eight times greater than the estimate for the No Action Alternative. These
increases in fish numbers are expected to ultimately result in self-sustaining anadromous fish
populations in the Trinity River, providing a meaningful, viable fishery for the Hoopa Valley and
Yurok Tribes as well as non-Indian fishing interests along the North Coast. For these reasons
and others noted elsewhere, the Preferred Alternative represents the appropriate action necessary
to restore and maintain the Trinity River’s anadromous fishery in accordance with the
Department’s statutory and trust responsibilities.

In addition to the statutory and trust obligations imposed on the Department regarding the
restoration of the Trinity River’s fishery, the FEIS/EIR considered several additional factors
critical in making this decision, including: compliance with the Endangered Species Act;
continued TRD integration for CVP consumptive water use and power generation; socio-
economic impacts; impacts to other wildlife; flood control; and additional statutory and other
considerations.

ESA: Section 7(a) of the Endangered Species Act places an affirmative obligation on federal
agencies to take actions that conserve endangered or threatened species, in addition to the general
prohibition on federal activities which would jeopardize the continued existence of listed species
or would destroy or adversely modify those species’ critical habitats. When federal agencies
propose actions which may affect a listed species, agencies must consult with either the Service
or the NMFS to ensure that the proposed action will comply with the mandates of the ESA.
Consistent with these responsibilities, Reclamation and the Service formally consulted with the
appropriate agencies on the potential effects of implementing the Preferred Alternative to
threatened and endangered fish and wildlife species in the Trinity River basin and the
Sacramento River/Delta system in the Central Valley.

The Service’s Biological Opinion concluded that implementation of the Preferred Alternative is
not likely to jeopardize threatened delta smelt and threatened Sacramento splittail or adversely
modify critical habitat for delta smelt. The Service also has concurred with the determination
that implementing the Preferred Alternative will not likely adversely affect the bald eagle and
northern spotted owl. Incidental take associated with implementation of the Preferred
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               18
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 20 of 44


Alternative of the threatened delta smelt and Sacramento splittail may be affected in a manner or
extent not analyzed in the March 6, 1995 Biological Opinion on the Long-term Operation of the
CVP and SWP; however, a reasonable and prudent measure to minimize the effects of incidental
take due to implementation of the Preferred Alternative was developed. Implementation of this
measure is non-discretionary.

The NMFS Biological Opinion finds that implementation of the Preferred Alternative is not
likely to jeopardize Southern Oregon/Northern California coast (SONCC) coho salmon in the
Trinity River, Sacramento River winter-run chinook salmon, Central Valley spring-run chinook
salmon, or Central Valley steelhead. The NMFS has also determined that implementation of the
Preferred Alternative, as proposed, is not likely to destroy or adversely modify designated critical
habitat for these species.

The NMFS does anticipate that SONCC coho salmon habitat adjacent to and downstream of the
channel rehabilitation projects associated with the Preferred Alternative may be temporarily
degraded during construction. Construction of these projects, which will create a substantial
amount of additional suitable habitat, may temporarily displace an unknown number of juvenile
coho salmon but is not expected to result in an unauthorized take.

Because implementation of the proposed action is expected to result in substantial increases in
coho salmon populations, implementation of the Preferred Alternative is not expected to
appreciably reduce the likelihood of both survival and recovery of SONCC coho salmon in the
wild. Similarly, because the expected outcome of implementation of the proposed action is
greatly improved fish habitat conditions (including necessary coho salmon habitat), the value of
critical habitat for both the survival and recovery of SONCC coho salmon will not be appreciably
diminished.

The NMFS does not anticipate that the implementation of the proposed action will result in
incidental take of Central Valley spring-run chinook or Central Valley steelhead, but does
anticipate the Preferred Alternative will result in a minute increase in the level of Sacramento
River winter-run chinook incidentally taken due to elevated water temperature in all years except
critically dry years. In critically dry years, Reclamation would be required to reinitiate
consultation pursuant to the existing Winter-run CVP-OCAP to develop year-specific
temperature control plans. Implementation of reasonable and prudent measures specified in the
NMFS BO to minimize the effects of incidental take are non-discretionary and will result in
minimizing impacts of incidental take of SONCC coho salmon and Sacramento River winter-run
chinook salmon in all years including critically dry years.

As described above, implementing the Preferred Alternative also will entail the development of
more specific plans to implement non-flow related recommendations. These project proposals
will serve as biological assessments for the proposed actions, providing necessary details about
the actions and their impacts on affected listed and candidate species. Project-specific biological
opinions will take into account the environmental benefits that accrue from the fishery restoration
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               19
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 21 of 44


program. As a result, the Service and NMFS anticipate that implementation of the overall fishery
restoration program will streamline the ESA compliance process and, as actions are taken that
benefit listed species, will ultimately reduce and, upon recovery of the listed species, eliminate
the need for additional ESA compliance requirements.

TRD integration with CVP: The Preferred Alternative provides for the continued operation of
the Trinity River Division of the CVP, including the continued export to the Central Valley of a
majority of the waters flowing into the TRD (averaging 52%) and the continued generation of
power. The Preferred Alternative, however, also conforms to the legal and trust mandates for the
restoration and protection of the Trinity fishery which restrict the amount of water authorized for
exportation to the Central Valley.

Since full operation of the TRD began in 1964, an average of 74% of the basin’s inflow to the
TRD (about 988,000 af) has been exported annually. In some years, approximately 90% of the
annual inflow was diverted to the Sacramento basin. In recent years (1985-1997), annual exports
have decreased to an average of 732,400 af; under the No Action alternative they were assumed
to average 870,000 af. Currently, releases to the Trinity River are not less than 340,000 af
annually. Under the Preferred Alternative, the TRD would be operated to release additional
water to the Trinity River, and the timing of exports to the Central Valley would be shifted to
later in the summer to help meet Trinity River instream temperature requirements. The Preferred
Alternative would, on average, increase releases to the Trinity River by 75% above No Action
levels. Long-term average water exports to the Central Valley would be 630,000 acre feet, or a
reduction compared to the No Action alternative of approximately 240,000 acre feet (28 percent).
Dry-period annual exports would be reduced by 160,000 acre feet (30 percent) compared to
average dry period exports under the No Action alternative (see Table 3-3 in the DEIS).

Analyses conducted for the FEIS/EIR indicate that compared to the No Action alternative long-
term average annual CVP deliveries may decrease by approximately 90,000 acre feet (2 percent),
with reductions during the dry period projected to average 160,000 acre feet (4 percent). Annual
Delta exports through the Tracy Pumping Plant were modeled to be reduced by 60,000 acre feet
(2 percent) over the long-term average and 90,000 acre feet (4 percent) during the dry period.
The reduction in available surface water supplies is anticipated to result in increased pumping of
groundwater in areas where such pumping is economically viable given land use, crop mix, and
groundwater quality. In some areas, the FEIS/EIR anticipated that water users may choose to
pump additional groundwater in areas that are in an existing/projected area of overdraft; such
additional pumping would be expected to result in localized groundwater elevation declines and
land subsidence compared to the No Action alternative. In some areas where additional
groundwater pumping is not assumed to be feasible, either because of economic considerations
or ordinances which limit additional groundwater extraction, some lands may be fallowed at least
on a temporary basis.

Although not the basis for this decision, improvements in water supply reliability to the Central
Valley and in particular to south-of-Delta agricultural interests are being addressed in a separate
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                20
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 22 of 44


forum. On August 28, 2000, 18 Federal and State of California agencies, including the
Department of the Interior, issued a Record of Decision for implementation of the CALFED
Program. The CALFED Program was established to develop a long-term comprehensive plan
that will restore ecological health and improve water management for beneficial uses of the San
Francisco Bay/Sacramento-San Joaquin Delta (Bay-Delta) system. One of the goals of the
CALFED Program is to improve the water supply reliability for the State of California’s farms
and growing cities that draw water from the Delta and its tributaries, including 7 million acres of
highly productive farmland.

As part of the CALFED Record of Decision, the CALFED agencies anticipated that
implementation of a variety of water management tools called for in the CALFED Program “will
result in normal years in an increase to CVP south-of-Delta agricultural water service contractors
of 15 percent (or greater) of existing contract totals to 65 to 70 percent.” (CALFED ROD at 41).
In the course of developing these target water allocations, and consistent with language contained
in House Report 106-253, on the Energy and Water Appropriations Bill – Federal Fiscal Year
2000, certain CALFED agencies considered the potential that the Trinity River decision may
affect CVP allocation as part of the CALFED Process, and concluded that it will not affect these
targeted allocations to CVP south-of-Delta agricultural water service contracts. Ibid.

Implementation of the Preferred Alternative will have some impacts to power generation. The
Preferred Alternative minimizes effects to CVP power generation to the extent practicable, while
allowing for both fisheries restoration within the mainstem of the Trinity River and meeting
Tribal Trust obligations. The total installed CVP capacity of approximately 2000 megawatts
equates to four percent of California demand in 1999 and three percent of projected 2010
demand. The Trinity River Division (TRD) accounts for 25 percent of the total CVP installed
capacity (approximately 497 megawatts is generated by the TRD), which equates to
approximately one percent of current California demand, and less than one percent of projected
2010 demand. Upon full implementation of the Preferred Alternative, average annual CVP
power generation would be reduced in the Trinity River Division, would be slightly reduced in
the Shasta Division, and would remain approximately the same at Folsom, Nimbus and San Luis
Powerplants. The Trinity River FEIS/EIR(using modeling results produced in cooperation with
WAPA – see FEIS/EIR page 2-123, Table 3-49) identifies an average potential decrease in
capacity of seven MW (compared to the average capacity of 1603 MW under No Action; a
percentage change of less than four tenths of one percent of the total power capacity associated
with the CVP) attributable to the Preferred Alternative.1 Modeling simulations in the FEIS/EIR
also indicate that the Preferred Alternative would reduce the average long-term energy
production of the CVP by 318 GWh, approximately 6 percent, which equates to a reduction in
the statewide electrical energy supply of approximately one tenth of one percent as a result of
implementing the Preferred Alternative.


        1
         In certain rare circumstances, this decrease may be as high as 85 MW as a result of potential bypass
operations, as discussed below.
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                              21
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 23 of 44


Within the larger context of demand for electricity in the State of California, the reduced
generating capacity associated with implementation of the Preferred Alternative is minimal when
compared to the new generating capacity either under construction or fully approved for
construction within the state. As of November 2000, according to the Western Systems
Coordinating Council, approximately 3,700 megawatts (which represents more than the total
generation capability of the entire CVP) of new powerplants, in the form of six individual
projects, are either under construction or have gained full regulatory approval in California. An
additional approximate 7,500 megawatts of new powerplants have applications under review,
and a further 2,000 megawatts of new powerplants have recently initiated the application process.
As additional plants come on line, the CVP’s total contribution as a percentage of California’s
overall demand for electricity will decrease.

The Preferred Alternative includes peak releases of 11,000 cfs in extremely wet years and 8,500
cfs in wet years. Full implementation of the Preferred Alternative will be delayed due to the need
to replace bridges and make other infrastructure modifications, which currently limit flows to no
greater than 6,000 cfs. This is expected to take at least two years, thus allowing time for
additional capacity to come on line before the Preferred Alternative can be fully implemented.
Until infrastructure modifications can be implemented to increase the capacity of the channel,
additional water may be available for power generation in wet and extremely wet years. Rainfall
and run-off to support increased reservoir levels and power generation would typically be greater
throughout the CVP system in such above-normal precipitation years.

Additionally, operating criteria will be established to allow WAPA to respond to any emergency
situations in accordance with their obligations to the North American Electric Reliability
Council, including exceptions for responding to various emergency situations consistent with
Presidential Memorandum dated August 3, 2000, directing federal agencies to work with
California to develop procedures governing the use of backup power generation in power
shortage emergencies. These operational criteria are similar to those currently in place at Glen
Canyon Dam that were implemented earlier this year.

The analysis contained in the FEIS/EIR shows that the net decrease in the value of CVP power
production is estimated to be $5,564,0002 annually under the Preferred Alternative when
compared to the No Action alternative, a 3 percent decrease. When compared to modeled
existing conditions, the net decrease in the value of CVP power production was estimated to be
approximately $9,029,000 annually. The difference in the value of reduced power generation
between the No Action and Existing Conditions, when compared to the Preferred Alternative, is
mostly attributed to increased efficiency in deliveries to preference power customers, assumed to
occur in the No Action alternative as a result of not renewing Contract 2948-A with PG&E in


        2
         Output from the CVP is predominately peaking in nature, since the system is energy constrained during
adverse water conditions. Generating capacity from the CVP was valued based on the assumption that any change in
the CVP’s capacity would be offset by the construction of replacement generating capacity of a similar nature such
as a combined-cycle combustion turbine.
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                             22
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 24 of 44


2004. The other source of this difference is attributable to changes in delivery schedules of CVP
water under the No Action alternative when compared to both Existing Conditions and the
Preferred Alternative. High allocation customers would be subject to increases of $1.25 per
megawatt-hour in average power cost, or $0.00125 per kilowatt-hour at the retail level. Average
customers would likely see increases of $0.21 per megawatt-hour, or $0.00021 per kilowatt-hour
at the retail level, as compared to the No Action alternative. Costs to the average customer are
estimated at $0.33 per megawatt-hour or $0.00033 per kilowatt-hour, and $3.90 per megawatt-
hour or $0.0039 per kilowatt-hour for preference customers when comparing the Preferred
Alternative to Existing Conditions.

Historically, Reclamation has occasionally made low level releases at Trinity Dam to assist in
meeting downstream water temperature requirements during particularly dry years. During such
releases, all of the water that would normally pass through the power turbines is bypassed, and
the generators are shut down. Such bypasses have been implemented when storage has dropped
below a range of from 750,000 to 1,000,000 af, depending on specific conditions, and have
occurred in the July through October time frame. In modeling such bypass releases, the analysis
was conducted on a “worst case” basis. Modeling of the Preferred Alternative indicates that in
the 69 year period of record, bypass operations could have occurred in up to 26 months, during
the July through October period, generally in critically dry years. Bypass operations could
eliminate an average of 85 MW of firm load carrying capacity in any month that bypass
operations occur for the July through October period. Applying the replacement capacity value
used in the analysis of costs in the EIS/EIR, the net impact associated with the loss of this
capacity would be approximately $3,200,000 for the four month period. This additional cost,
above existing costs related to implementing the Preferred Alternative, would be incurred in any
year with the potential for bypass operations, because such potential eliminates the reliable use of
the Trinity Power plant during the four month period. In contrast, modeling of the No-Action
and Existing Conditions indicates that in the 69 year period of record, bypass operations could
have occurred in up to 38 months, more often than the Preferred Alternative.

In addition, Trinity Public Utilities District power costs could increase as much as $107,000
annually. These increased costs could result in minor cost increases to individual power users.
However, Congress recently passed legislation which may offset any potential increased costs to
Trinity Public Utilities District by providing $540,000 annually to the Trinity Public Utilities
District. Energy and Water Appropriations Act – FY 2001.

It is important to note that the power costs discussed above may be greater (or less) than the costs
identified in the NEPA documentation given different assumptions, which are in part driven by
the continued uncertainty related to market deregulation and natural gas price fluctuations, but
the relative impacts between the alternatives analyzed remain unchanged.

Socio-economic impacts: The Preferred Alternative is intended to minimize adverse economic
and social effects across the Trinity River Basin, Lower Klamath River Basin and the Central
Valley Basin. The Trinity/Shasta regional economy would be positively affected by increases in
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000               23
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 25 of 44


spending associated with increases in water-oriented recreation. Socio-economic benefits also
occur from the Mendocino Coastal Area northwards, specifically job growth in the commercial
fishing and seafood processing sectors. In contrast, the San Francisco Coastal Area, Sacramento
Valley, San Joaquin Valley and Tulare Basin showed adverse economic and employment effects
as a result of reduced water deliveries to agricultural contractors. The economic sectors most
impacted would be miscellaneous retail, retail and wholesale trade, farm machinery and
equipment, and cotton production. As discussed above, implementation of the Preferred
Alternative is estimated to reduce CVP power generation by approximately 6 percent, resulting in
an increase in power costs to CVP power customers.

Impacts to Other Wildlife: Other beneficial impacts to vegetation and wildlife include
significant restoration of pre-dam riparian conditions along the Trinity River, increases in
suitable habitat for the foothill yellow-legged frog, western pond turtle and the willow flycatcher,
and long-term increases in wetland acreage. However, ground disturbing activities and
construction of channel rehabilitation sites may result in loss of vegetation, special-status plant
populations, or federal and state listed species. Therefore, site specific environmental reviews
will be conducted prior to ground disturbance or construction. If special-status plant populations
or federal and state listed species are present, actions shall be taken to avoid effects (e.g., delay
construction until after riparian nesting species fledge). In addition, there would be no significant
impacts to riparian vegetation, wildlife, and wetlands anticipated in the Lower Klamath River
Basin/Coastal Area.

Infrastructure Impacts: Peak releases associated with the Preferred Alternative would increase
from 2,000 to 11,000 cfs in May in extremely wet years, on average one out of every eight years.
These flows would result in several developed and undeveloped properties being impacted as
well as necessitate the replacement of four bridges (Bucktail Bridge, Poker Bar Bridge, Salt Flat
Bridge, and Treadwell Bridge). Appropriate infrastructure modifications will be completed to
avoid or address any anticipated impacts to property prior to increasing peak flows in wet and
extremely wet years, as detailed above.

Additional Statutory and Other Considerations: Implementation of the Preferred Alternative
will also comply with all additional pertinent federal and state laws, including the Fish and
Wildlife Coordination Act (FWCA), the National Historic Preservation Act (NHPA), the Wild
and Scenic Rivers Act, and the Environmental Justice Executive Order 12898. Site-specific
environmental reviews and permitting will be conducted and obtained as necessary.

Other Alternatives Considered in the FEIS/EIR: The other alternatives either fail to achieve
the restoration and maintenance goals required by the Department’s statutory and trust
obligations or have other considerations that weigh against their selection. Analyses conducted
for the TRFES and the FEIS/EIR as well as recent history provide substantial evidence that the
No Action and State Permit alternatives do not meet the purpose and need for this action.
Instead, these alternatives would perpetuate and even exacerbate the degradation of available fish
habitats to the continued detriment of the Trinity River and its fish stocks.
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                24
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 26 of 44


The analyses also show that the Percent Inflow and Mechanical Restoration alternatives lack the
ability to restore and maintain Trinity River anadromous salmonids successfully. Although these
alternatives offer marginal benefits for fishery restoration, each fails to address adequately the
mechanisms which led to the current plight, i.e., the geomorphic impacts to the riverine
environment resulting from severely reduced and relatively static flows from the TRD. The
Mechanical Restoration alternative would continue the present minimum flow of 340,000 af
from the TRD, a figure which represents the third-lowest flow on record prior to the TRD, and
rely on constructing certain channel rehabilitation projects (also included in the Preferred
Alternative and the Percent Inflow alternative) and maintaining these sites mechanically (e.g.,
with heavy machinery). Not only have these essentially static and severely reduced flows proven
harmful to the Trinity fishery to date, but reliance on perpetual mechanical restoration efforts
would also prove harmful through the continuing physical disturbance of the riverine
environment. Conversely, the Preferred Alternative would maintain these improved habitats
more naturally through the managed, variable flow regime, which would flush the fine sediments
which clog spawning gravels and prevent future riparian encroachment. The Percent Inflow
alternative does offer a varied flow regime from the TRD based on the basin’s annual hydrology,
but this more limited annual flow for Trinity needs (40% of inflow above Lewiston) greatly
hinders the ability to prevent continued degradation of the environment in the majority of water
years. This likely result is particularly true for dry and critically dry water years—40 percent of
the time--in which only 325,000 af or 165,000 af, respectively, would be released to the Trinity
River. Thus, neither of these alternatives provides the tools necessary to meet the Department’s
statutory and trust obligations or to protect and ultimately recover ESA-listed species.

Although the Maximum Flow Alternative scored better than the Preferred Alternative in terms of
estimated population increases, the Maximum Flow Alternative would exclude or excessively
limit the Department’s ability to address the other recognized purposes of the TRD, including
water diversions to the CVP and power production in the Trinity Basin. The best available
science presently indicates that the Department’s statutory and trust obligations can be achieved
while still meeting Congressional intent to have the TRD integrated with the CVP to the extent
that diversions to the CVP do not impair in-basin needs.

For all of these considerations, particularly the Department’s statutory and trust obligations,
implementing the Preferred Alternative represents the necessary and appropriate action in order
to restore and maintain the Trinity River’s anadromous fishery. As expressed above, the
statutory directives and trust responsibility require the restoration of a meaningful, viable fishery
from which the Hoopa Valley and Yurok Tribes can exercise their federally reserved fishing
rights and the non-Indian commercial and sport fishers can also share in the benefits of these
efforts. Based on the best available scientific information, this alternative meets these statutory
and trust obligations, providing the best means to achieve the restoration objectives while
continuing to operate the TRD as an integrated component of the CVP. This alternative is
considered to be the environmentally preferable alternative in that this alternative causes the least
damage to the biological and physical environment and best protects, preserves, and enhances
historic, cultural, and natural resources. Further, by selecting this alternative for implementation
Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000                25
Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 27 of 44
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 28 of 44


References

Hoopa Valley Tribal Resolution, 2000.

Moffett, J.W. and S.H. Smith. 1950. Biological Investigations of the Fishery Resources of Trinity
       River, California. Special Scientific Report No. 12. US Fish and Wildlife Service. 71pp

National Marine Fisheries Service. 2000. Biological Opinion for the Trinity River Mainstem Fishery
       Restoration EIS and its effects on Southern Oregon/Northern California Coast Coho Salmon,
       Sacramento River Winter-run Chinook Salmon, Central Valley Spring-run Chinook Salmon,
       and Central Valley Steelhead. October 12, 2000, 55pp.

Snyder, J. O. 1931. “Salmon of the Klamath River, California.” Fish Bulletin No. 34. California
       Department of Fish and Game.

U.S. Department of the Interior, Memorandum from the Solicitor to Assistant Secretary – Land
      and Water Resources, Proposed Contract with Grasslands Water District. December 7,
      1979.

U.S. Department of the Interior, Secretarial Issue Document, Trinity River Fishery Mitigation,
      January 1981.

U.S. Department of the Interior, Secretarial Decision, May 1991.

U.S. Department of the Interior, Memorandum from Solicitor to Secretary, Fishing Rights of the
      Yurok and Hoopa Valley Tribes, M-36979, Oct. 4, 1993.

U.S. Department of the Interior. 2000. CALFED Bay-Delta Program Programmatic Record of
      Decision. August 28, 2000, 1199pp.

U.S. House of Representatives. 1955. 84th Congress, 16 May, H. Rept. 602.

U.S. Fish and Wildlife Service and California Department of Fish and Game. 1956. “A
       Plan for the Protection of Fish and Wildlife Resources Affected by the Trinity River
       Division, Central Valley Project.” 76 pp.

U.S. Fish and Wildlife Service and Hoopa Valley Tribe. 1999. Trinity River Flow Evaluation
       Final Report. June 1999, 513pp.




Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000             27
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 29 of 44


U.S. Fish and Wildlife Service. 1980. Environmental Impact Statement on the Management of
       River Flows to Mitigate the Loss of the Anadromous Fishery of the Trinity River, California.
       Volumes I and II. U.S. Fish and Wildlife Service, Division of Ecological Services.
       Sacramento, CA.

U.S. Fish and Wildlife Service, U.S. Bureau of Reclamation. 2000. Biological Assessment For
       Those Actions In The Preferred Alternative Of The Proposed Preferred Trinity River
       Mainstem Fishery Restoration Program That May Effect Listed Species And Their Critical
       Habitat. June, 2000. 36pp.

U.S. Fish and Wildlife Service. 2000a. Reinitiation of Formal Consultation on the Effects of
       Long-term Operation of the Central Valley Project and State Water Project as Modified by
       Implementing the Preferred Alternative in the Draft Environmental Impact
       Statement/Environmental Impact Report for the Trinity River Mainstem Fishery Restoration
       Program. Also, a request for Consultation on the Implementation of this Alternative on the
       Threatened Northern Spotted Owl, Northern Spotted Owl Critical Habitat, and the
       Endangered Bald Eagle within the Trinity River Basin and where applicable, Central Valley
       reservoirs. October 12, 2000. 39pp.

U.S. Fish and Wildlife Service. 2000b. Final Environmental Impact Statement/Environmental
       Impact Report for the Trinity River Fishery Restoration. October 2000.




Record of Decision - Trinity River Mainstem Fishery Restoration, December 19, 2000              28
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 30 of 44


Appendix A. Public Involvement and Responses to comments on the FEIS/EIR.

I. Public Involvement

The EIS/EIR was undertaken to evaluate and disclose the potential environmental benefits and adverse
impacts resulting from proposed actions to restore the fishery. The DEIS/EIR was prepared with the
support of the Hoopa, Karuk, and Yurok Tribes and thirteen local, state and federal agencies (either
cooperating, responsible, or trustee agencies). The effort to collect, analyze and present technical
information was further complemented by six technical teams lead by representatives of the Service,
Reclamation, Western Area Power Administration (Western), U.S. Army Corps of Engineers (Corps),
and the Bureau of Land Management (BLM).

The Service, as the designated lead agency under NEPA, began the public process on October 12,
1994 when it published a Notice of Intent (NOI) to prepare an EIS in the Federal Register (59 FR
25141). Shortly thereafter, Trinity County, the responsible CEQA agency, followed this action by
forwarding a Notice of Preparation (NOP) of an EIR to the State Clearinghouse on November 16,
1994.

Soon after the publication of the NOI, a series of joint NEPA/CEQA scoping meetings were held in
Willows, Weaverville, Hoopa and Eureka, California between October 27, 1994 and November 3,
1994. Public input received during the meetings and subsequent follow-up letters helped the agencies
identify potential environmental impacts and areas of concern. These concerns included: fishery
resources, Tribal trust obligations, Central Valley Project (CVP) agricultural and municipal and
industrial (M&I) water supply and reliability, vegetation and wildlife resources, water quality and inriver
temperature, water management, CVP power generation recreation and recreation economics,
socioeconomics, land use, Trinity River flooding, aesthetics (related to reservoir drawdown), ocean
sport and commercial fishing, and upland watershed rehabilitation.

As the DEIS/EIR was being prepared, additional public meetings were held between March 25 and
April 4, 1996 in Orleans, Eureka, Hoopa, Weaverville, Willows, Fresno, Sausalito, California and
Coos Bay, Oregon. This series of meetings provided the public with additional opportunities for
comment and included a discussion of preliminary TRFES recommendations, EIS/EIR alternatives,
impact areas and analytical methods. In addition, the meetings provided updates on the project
schedule and recent legislative actions.

A second round of public meetings were held on October 28, 29 and 30, 1997, at Hoopa,
Weaverville, California and Sacramento, California respectively, to provide an update on the
alternatives and information on preliminary analysis results. In addition, a public workshop was held in
Weaverville on February 17, 1998, to present information on proposed significance criteria that had
been developed to help in identifying the significance of the various impacts.



                                                                                                       A-1
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 31 of 44


A series of newsletters mailed out to a large number of interested parties in January 1996, September
1996, and October 1997 provided additional information. Distribution of news and information
concerning the DEIS/EIR was supplemented in the fall of 1998 when the Service posted an Internet
web page at http://www.ccfwo.r1.Service.gov/ccfwo/treis.htm. Trinity County also provided electronic
access to information concerning Trinity River activities by maintaining a public list server known as
“env-trinity” available through subscription to majordomo@igc.apc.org.

On October 19, 1999, the Service published a notice in the Federal Register announcing the availability
of the draft EIS/EIR and the commencement of the public comment period in the Federal Register (64
FR 56364). In addition, news releases and articles announcing the availability of the DEIS/EIR were
published in several area newspapers including the Trinity Journal, Sacramento Bee, San Francisco
Chronicle, Eureka Times-Standard and the San Jose Mercury News. The document was made
available for public review at libraries and other public places in California and in Coos Bay, Oregon
and Portland, Oregon. In addition, 692 hard copies of the document along with 408 copies of the
Executive Summary and 204 electronic versions of the DEIS/EIR on CD-ROM were distributed to
interested individuals, organizations and agencies. A complete series of technical appendices were also
included as part of the CD ROM and hard copy versions of the appendices were also made available
to the public and interested agencies on request.

The public comment period included a series of joint NEPA/CEQA public hearings held in Redding,
Sacramento, and Eureka on November 16, 18, and 23, 1999, respectively. In addition, the Trinity
County Board of Supervisors held a CEQA hearing in Weaverville, California. These meetings
provided the public with an opportunity to submit both written and oral comment to the lead agencies.
The comment period was originally scheduled to end on December 8, 1999. However, on December
2, 1999 the Service extended the comment period until December 20, 1999 (64 FR 67584). Public
meetings were again held in Sacramento, California on December 6, 1999 and in Weaverville,
California on December 7, 1999. On December 27, 1999 the Service published a notice in the Federal
Register which reopened the public comment period until January 20, 2000 (64 FR 72357). Public
notices regarding the hearings and extensions were also published in the aforementioned newspapers
and the Redding Record Searchlight.

In response to the public outreach effort, the lead agencies received a substantial number of letters and
postcards commenting on the DEIS/EIR. In total, the lead agencies received written comments from
6445 people and organizations (1009 letters and 5436 preprinted postcards). A list of the commentors
and the response of the agencies to each of those comments was presented in the FEIS/EIR. On
November 17, 2000 the Service announced the availability of the Final EIS/EIR (65 FR 69512).

II. Responses to Comments on the FEIS/EIR

Several hundred letters were received after publication of the FEIS pertaining to individuals’ preference
for alternative implementation, implementation funding, and Executive Order 12898. No information

                                                                                                     A-2
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 32 of 44


was received that would alter the conclusions contained in the FEIS/EIR or in the Service’s and
NMFS’s biological opinions. Additional responses are provided below on the issues raised for
clarification purposes.

Issue: Alternatives for Implementation

The Department received 423 letters requesting the Secretary implement the Maximum Flow
Alternative or if the Preferred Alternative is selected and funds not appropriated for implementation,
provide in the Record of Decision for an increase in flows to those of the Maximum Flow regime. The
Department also received 123 additional letters supporting only the Maximum Flow Alternative, and 25
letters supporting increase flows, but not specifying how much of an increase.

The Department also received 43 letters supporting the Preferred Alternative but only in its current form
without modification expressing the sentiment that by agreeing to export 53% of the water from the
Trinity River to the Central Valley, a compromise has been struck.

Several of the letters mentioned the need to appropriate funding so increased flows and implementation
could occur. Several also mentioned the Trinity Management Council, and that it should be lead by
someone who is unaffiliated with Northern California water issues, and who would be highly respected
by the environmental conservation community.

The Department received two letters opposing implementation of the Preferred Alternative. The letters
assert that the Department’s analysis was biased in certain respects and failed to adequately consider a
number of issues, including the Sacramento Municipal Utility District’s proposed alternative, impacts to
species listed under the ESA, lost power generation and acquisition of replacement power supplies, and
that circumstances surrounding California’s deregulated energy market necessitate preparation of a
supplemental EIS/recirculation of EIR.

Response: Individuals’ preferences for the Maximum Flow Alternative, the Preferred Alternative and
the SMUD proposed alternative are duly noted and in general have been addressed previously in the
FEIS. The Preferred Alternative has been adopted for implementation for the reasons stated above. It
should be noted that implementing the Maximum Flows regime would also require extensive funds due
to the bridges and structures that would need to be relocated along with the estimated $23 to 72 million
it would take to retrofit Trinity Dam for those releases.

With regard to the comment about current electrical energy issues in California, it should be noted that
implementation of the Preferred Alternative will not have any immediate impacts to power supplies in
California and that, as recognized above, substantial new supplies are expected to be developed in
California over the next few years. Moreover, the issues raised through the comments will not result in
impacts to a significant extent not already considered in the FEIS/EIR.



                                                                                                     A-3
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 33 of 44


As a whole, the Preferred Alternative best meets the purpose and need to restore and maintain the
Trinity River fishery in accordance with the Department’s statutory and trust obligations. The Preferred
Alternative also presents a balanced approach that allows the continued integration of the TRD to the
extent consistent with Congressional mandates and based on the best available scientific information
The selection of the Preferred Alternative flows from sound scientific reasoning and thorough analysis of
all of the alternatives.

Issue: Executive Order 12898

Several letters included comments pertaining to Executive Order 12898 - "...requires agencies to
identify and address disproportionately high and adverse human health or environmental effects of their
actions on minorities and low-income populations and communities as well as the equity of the
distribution of the benefits and risks of their decisions." These letters expressed the view that the
current transfer of water is a violation of law.

Response: Comments noted. This Decision directs the Preferred Alternative to be implemented which,
as described in the FEIS, is consistent with Executive Order 12898.




                                                                                                     A-4
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 34 of 44


   Appendix B. Lewiston Dam Releases to the Trinity River (FEIS, pages C-37 and C-38)


                                   Attachment 1
                      Lewiston Dam Releases to the Trinity River
Date                  Extremely                                             Critically
                      Wet          Wet         Normal       Dry             Dry
01-Oct thru 15-Oct        450          450         450             450           450

16-Oct thru 21-Apr        300          300         300             300           300

22-Apr                    500          500         500             300           300

23-Apr                    500          500         500             300           900

24-Apr                    500          500         500             300          1,500

25-Apr                    500          500         500             300          1,500

26-Apr                    500          500         500             300          1,500

27-Apr                    500          500         500             900          1,500

28-Apr                    500          500         500            1,500         1,500

29-Apr                    1,500       2,000        2,000          2,500         1,500

30-Apr                    1,500       2,000        2,500          3,500         1,500

01-May thru 05-May        1,500       2,000        2,500          4,500         1,500

06-May                    2,000       2,500        4,000          4,306         1,500

07-May                    2,000       2,500        6,000          4,121         1,500

08-May                    2,000       2,500        6,000          3,943         1,500

09-May                    2,000       2,500        6,000          3,773         1,500

10-May                    2,000       2,500        6,000          3,611         1,500

11-May                    2,000       2,500        6,000          3,455         1,500

12-May                    2,000       2,500        5,784          3,307         1,500

13-May                    2,000       2,500        5,574          3,164         1,500

14-May                    2,000       3,000        5,373          3,028         1,500

15-May                    2,000       1,000        5,178          2,897         1,500

16-May                    2,000       6,000        4,991          2,773         1,500

17-May                    2,000       8,500a       4,811          2,653         1,500

18-May                    2,000       8,500a       4,637          2,539         1,500




                                                                                         B-1
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 35 of 44



19-May                 2,000     8,500a     4,469       2,430       1,500

20-May                 3,000     8,500a     4,307       2,325       1,500

Date                 Extremely                                    Critically
                        Wet      Wet       Normal       Dry          Dry

21-May                 4,000     8,500a     4,151       2,225       1,500

22-May                 6,000     7,666a     4,001       2,129       1,500

23-May                8,500a     6,833a     3,857       2,037       1,500

24-May                11,000a    6,000      3,717       1,950       1,500

25-May                11,000a    6,000      3,583       1,866       1,500

26-May                11,000a    6,000      3,453       1,785       1,500

27-May                11,000a    6,000      3,328       1,708       1,500

28-May                11,000a    6,000      3,208       1,635       1,500

29-May                10,444a    5,690      3,092       1,564       1,500

30-May                9,889a     5,322      2,980       1,497       1,497

31-May                9,333a     4,977      2,872       1,433       1,433

01-Jun                8,778a     4,655      2,768       1,371       1,371

02-Jun                8,222a     4,354      2,668       1,312       1,312

03-Jun                7,667a     4,072      2,572       1,255       1,255

04-Jun                7,111a     3,809      2,479       1,201       1,201

05-Jun                6,556a     3,562      2,389       1,150       1,150

06-Jun                 6,000     3,332      2,303       1,100       1,100

07-Jun                 6,000     3,116      2,219       1,053       1,053

08-Jun                 6,000     2,915      2,139       1,007       1,007

09-Jun                 6,000     2,726      2,062       964          964

10-Jun                 6,000     2,550      2,000       922          922

11-Jun                 5,664     2,385      2,000       883          883

12-Jun                 5,359     2,230      2,000       845          845

13-Jun                 5,071     2,086      2,000       808          808

14-Jun                 4,798     2,000      2,000       774          774




                                                                               B-2
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 36 of 44




15-Jun                 4,540     2,000      2,000       740          740

16-Jun                 4,295     2,000      2,000       708          708

17-Jun                 4,064     2,000      2,000       678          678

18-Jun                 3,845     2,000      2,000       649          649

Date                 Extremely                                    Critically
                        Wet      Wet       Normal       Dry          Dry

19-Jun                 3,638     2,000      2,000       621          621

20-Jun                 3,443     2,000      2,000       594          594

21-Jun                 3,257     2,000      2,000       568          568

22-Jun                 3,082     2,000      2,000       544          544

23-Jun                 2,916     2,000      2,000       521          521

24-Jun                 2,759     2,000      2,000       498          498

25-Jun                 2,611     2,000      2,000       477          477

26-Jun                 2,470     2,000     2,000        450          450

27-Jun                 2,337     2,000     2,000        450          450

28-Jun                 2,212     2,000     2,000        450          450

29-Jun                 2,093     2,000     2,000        450          450

30-Jun thru July 9     2,000     2,000     2,000        450          450

10-July                1,700     1,700     1,700        450          450

11-July                1,500     1,500     1,500        450          450

12-July                1,350     1,350      1,350       450          450

13-July                1,200     1,200      1,200       450          450

14-Jul                1,,050     1,050      1,050       450          450

15-July                950       950        950         450          450

16-July                850       850        850         450          450

17-July                750       750        750         450          450

18-July                675       675        675         450          450

19-July                600       600        600         450          450




                                                                               B-3
       Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 37 of 44




    20-July                            550               550               550                  450                 450

    21-July                            500               500               500                  450                 450

    22-July to 30-Sept                 450               450               450                  450                 450

    Acre-Feet                         815.2             7,01.0            646.9                452.6               368.6
                                               b                 b
    (Thousands)                      (721.1)           (671.3)
a
Releases restricted to 6,000 cfs or 8,500 cfs until appropriate infrastructure improvements have occurred.
b
 Annual allocations that reflect a maximum Lewiston Dam release of 6,000 ft 3/s until floodplain improvement projects are
completed.




                                                                                                                            B-4
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 38 of 44


Appendix C. Measures to Minimize and Mitigate Impacts Associated with Implementation of
the Preferred Alternative

Table 1 displays the project implementation impacts/ issues and minimization and mitigation measures
which Reclamation and the Service have committed to perform under this Record of Decision followed
by additional explanation.

Table 1. Impacts and Preferred Alternative Mitigation Commitments


 Impact/Issue                                                  Mitigation Commitment
 The channel rehabilitation projects would result in short-    A 401 water quality certification would be obtained
 term Trinity River turbidity impacts.                         from the NCRWQCB, and a construction procedure
                                                               would be developed to meet the Basin Plan turbidity
 Impacts to recreation activities from turbidity associated    requirements. Monitoring would be conducted as
 with the construction of the channel rehabilitation sites.    specified by the NCRWQCB, and efforts would be
                                                               taken to reduce levels if they are 20 percent or more
                                                               over background (e.g., isolating the work area and/or
                                                               slowing or halting construction until the 20-percent
                                                               level is achieved).


                                                               Notify individual diverters with state diversion permits
                                                               within 2 miles downstream of any mechanical channel
                                                               rehabilitation activity at least 2 days in advance of
                                                               activities likely to produce turbidity.

 Potential violations of temperature objectives and            Implement NMFS biological opinion Reasonable and
 carryover storage criteria established in the Sacramento      Prudent Measures and Terms and Conditions.
 River winter run chinook salmon Biological Opinion.

 Violate state temperature objectives established for the      Consultation with NMFS would occur pursuant to
 Trinity River.                                                Trinity River coho salmon biological opinion.
                                                               Bypassing the Trinity Power plant could offset impacts
                                                               to temperature in the Trinity River by pulling colder
                                                               water from lower in the reservoir.

 Impacts to Delta smelt and Sacramento splittail as a result   Implement Service biological opinion Reasonable and
 of changes in Delta inflow to export ratios.                  Prudent Measures and Terms and Conditions.




                                                                                                                          C-1
   Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 39 of 44



Ground disturbing activities could result in a loss of    Conduct site-specific environmental reviews prior to
vegetation and special-status plant populations.          mechanical ground-disturbing activities. Such reviews
                                                          shall, when appropriate, include surveys for federal
                                                          and state endangered, threatened, and proposed
                                                          species, or for other species if required by permitting
                                                          agencies (e.g., USFS). If such species are present,
                                                          actions shall be taken to avoid impacts.
                                                          Develop and implement a revegetation plan for all
                                                          ground-disturbing activities (excluding channel
                                                          rehabilitation sites). Revegetation shall use plant
                                                          species found adjacent to the impact area or from
                                                          similar habitats, subject to landowner andor agency
                                                          concurrence. Replacement ratios and monitoring
                                                          plans, if determined necessary, will be developed in
                                                          cooperation with the Corps, Service, and CDFG.

Direct mortality of foothill yellow-legged frogs or egg   Conduct site-specific environmental reviews prior to
masses, adult western pond turtles and hatchlings, or     mechanical ground-disturbing activities.    Such reviews
willow flycatcher nests and young during construction     shall, when appropriate, include surveys for federal and
of the channel rehabilitation sites.                      state endangered, threatened, and proposed species, or
                                                          for other species if required by permitting agencies (e.g.,
                                                          USFS). If such species are present, actions shall be taken
                                                          to avoid impacts (e.g., delay construction until after
                                                          willow flycatcher chicks fledge).

The mechanical channel rehabilitation projects could      Conduct pre-construction delineation of wetland areas at
impact wetland resources.                                 sites that may contain wetlands. Consult with the Corps
                                                          on potential impacts and appropriate mitigation, if any, to
                                                          wetland resources.

Impacts to public safety from river flows that are too    Post signs at river access points showing daily flows.
high or too low (i.e., outside the preferred range for    Offer a toll-free telephone number so recreationists can
boating).                                                 call to obtain daily flow information. Post daily flows on
                                                          the Internet.

Increased flooding of Trinity River structures and/or     Reclamation will take appropriate steps in a timely
residences.                                               manner to ensure that affected bridges, houses, and
                                                          out-buildings are structurally improved or relocated or
                                                          otherwise addressed before implementing
                                                          recommended peak releases for Wet or Extremely Wet
                                                          water years (8,500 and 11,000 cfs, respectively).




                                                                                                                    C-2
     Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 40 of 44



 Impacts to cultural resources.                          Conduct cultural resource surveys of project areas
                                                         (including areas of ancillary activities, such as staging
                                                         areas, gravel mining areas, etc.) prior to ground
                                                         disturbance.
                                                         Areas containing cultural resources shall be
                                                         demarcated and activities planned to avoid these areas.
                                                         If cultural resources cannot be avoided, unavoidable
                                                         impacts on significant resources would be mitigated for
                                                         in a manner that is deemed appropriate. Mitigation for
                                                         significant resources may include, but is not limited to,
                                                         data recovery, public interpretation, performance of a
                                                         Historic American Building Survey or Historic
                                                         American Engineering Record, or preservation by other
                                                         means.

 Spawning gravel placement and other heavy               Implement a dust control program, which includes:
 equipment work associated with the alternatives would   watering of stockpiles, roads, etc. as necessary, and
 result in PM10 impacts as a result of fugitive dust.    identify an individual to monitor dust control and to
                                                         respond to citizen complaints, if any.


In order to minimize and mitigate the effects of project implementation to listed species, the NMFS and
the Service included reasonable and prudent measures and terms and conditions as part of their
respective biological opinions (National Marine Fisheries Service, 2000; U.S. Fish and Wildlife
Service, 2000).

The NMFS biological opinion listed the following reasonable and prudent measures as necessary and
appropriate for the Service and Reclamation to implement in order to minimize impacts of incidental
take of SONCC coho salmon and Sacramento River winter-run chinook salmon.

As contained in the NMFS biological opinion, the following reasonable and prudent measures are
necessary and appropriate to minimize impacts of incidental take of SONCC coho salmon and
Sacramento River winter-run chinook salmon.

The USFWS and Reclamation shall:

1.       Implement the flow regimes included in the proposed action (as described in TRMFR DEIS,
         page 2-19, Table 2-5) as soon as possible;

2.       Ensure that the NMFS is provided the opportunity to be represented during implementation of
         the Adaptive Environmental Assessment and Management Program;

3.       Ensure that the replacement bridges and other infrastructure modifications, needed to fully
         implement the proposed flow schedule, are designed and completed as soon as possible;



                                                                                                                     C-3
       Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 41 of 44


4.       Periodically coordinate with the NMFS during the advanced development and scheduling of the
         habitat rehabilitation projects described in the TRMFR DEIS;

5.       Complete “the first phase of the channel rehabilitation projects” (USFWS and BOR, 2000) in a
         timely fashion;

6.       Implement emergency consultation procedures during implementation of flood control or “safety
         of dams” releases from Lewiston Dam to the Trinity River;

7.       In dry and critically dry water year types, Reclamation and USFWS shall work cooperatively
         with the upper Sacramento River Temperature Task Group to develop temperature control
         plans that provide for compliance with temperature objectives in both the Trinity and
         Sacramento rivers.

The USFWS and Reclamation must comply with the following terms and conditions, which implement
the reasonable and prudent measures described above. These terms and conditions are non-
discretionary.

1.a.     Following completion of the Record of Decision addressing the proposed action, Reclamation
         shall immediately implement the components of the proposed flow schedule (as described in the
         TRMFR DEIS, page 2-19, Table 2-5) equal to or less than 6,000 CFS, and implement the
         entire flow schedule as soon as possible (i.e., after infrastructure modifications are completed);

1.b.     As necessary infrastructure modifications are made, Reclamation shall incrementally implement
         higher Trinity River flows (consistent with the proposed flow regime), e.g., potentially releasing
         up to 8,500 CFS after some bridge modifications, but prior to completion of the “Bucktail” and
         “Poker Bar” bridge replacements (see USFWS and BOR, [2000]);

1.c.     Reclamation shall provide two reports per year detailing flows released into the Trinity River
         below Lewiston Dam; reports will be provided to the NMFS (1655 Heindon Road, Arcata,
         CA 95521) by August 31, and March 31, annually;

2.a.     The USFWS and Reclamation shall provide the opportunity for full NMFS participation on the
         technical team (‘designated team of scientists’ [USFWS and BOR 2000], ‘technical modeling
         and analysis team’ [TRMFR DEIS]) offering restoration program recommendations, and on the
         Trinity Management Council policy group (described in the TRMFR DEIS and USFWS and
         BOR [2000]);

3.a.     The replacement bridges and other infrastructure modifications needed to fully implement the
         proposed flow schedules shall be completed by the end of calendar year 2002 (consistent with
         the schedule outlined in USFWS and BOR [2000]);

                                                                                                       C-4
       Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 42 of 44


4.a.     The USFWS and/or Reclamation shall meet with the NMFS annually in March to coordinate
         during the advanced development and scheduling of habitat rehabilitation projects, including
         mainstem channel rehabilitation projects, sediment augmentation program, and dredging of
         sediment collection pools;

4.b.     The USFWS and/or Reclamation shall provide for review of individual mainstem channel
         rehabilitation projects via the technical team (‘designated team of scientists’ [USFWS and
         BOR 2000], ‘technical modeling and analysis team’ [TRMFR DEIS]) or equivalent group, and
         provide a written recommendation to the NMFS whether the projects are similar to those
         described in the TRMFR DEIS and should be covered by this incidental take statement; if the
         technical team determines that these projects and their impacts to aquatic habitat are
         substantially different than described in the TRMFR DEIS and USFWS and BOR (2000), the
         technical team will recommend to the NMFS that additional ESA section 7 consultation is
         appropriate;

5.a.     The USFWS and Reclamation shall complete the “first phase of the channel rehabilitation
         projects” (USFWS and BOR 2000) (i.e., ‘24 channel projects’ [TRMFR DEIS]) within 3
         years of issuance of the Record of Decision;

6.a.     Reclamation shall initiate emergency consultation procedures during implementation of any flood
         control or “safety of dam” releases, pursuant to 50 CFR §402.05;

7.a.     Be prepared to make use of the auxiliary bypass outlets on Trinity Dam as needed, and
         pursuant to reinitiation of ESA section 7 consultation regarding Sacramento River Winter-run
         chinook salmon, to protect water quality standards; associated actions may include modification
         of the export schedule of Trinity Basin diversions to the Sacramento River.

7.b.     In years that Reclamation has reinitiated consultation pursuant to criteria established in the
         Winter-run chinook salmon CVP-OCAP BO, evaluate drawdowns of Trinity Reservoir below
         the 600 TAF minimum end-of-water year carryover level to the extent needed to avoid
         significant temperature-related loss of the early life stages of winter-run chinook salmon (> 10%
         as predicted by Reclamation’s Salmon Mortality Model). Implementation of drawdowns
         below the 600 TAF minimum end-of-year carryover level in Trinity Reservoir shall be
         determined by Reclamation, USFWS, and NMFS on a case-by-case basis in dry and critically
         dry water years.

As contained in the Service biological opinion, the following reasonable and prudent measures are
necessary and appropriate to minimize the impacts of the Preferred Alternative:

         1)      Reclamation shall minimize the effects of reoperating the CVP resulting from the
                 implementation of the Preferred Alternative within the Trinity River Basin on listed fish

                                                                                                       C-5
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 43 of 44


                in the Delta.

In order to be exempt from the prohibitions of section 9 of the Act, Reclamation must ensure
compliance with the following terms and conditions, which implement the reasonable and prudent
measures described above. These terms and conditions are non-discretionary.
To implement Reasonable and prudent Measure number one Reclamation must implement the
following:

        2)      If Reclamation in its annual operations planning process detects that implementation of
                the Preferred Alternative will result in an upstream (eastward) movement of X2 in any
                month between February 1 through June 30 of 0.5 km, Reclamation shall incorporate
                within its operating plan measures that can and will be implemented to minimize or
                eliminate such upstream movements.

Since there may be some short-term impacts resulting from channel rehabilitation, watershed protection
measures, and infrastructure modifications, the Trinity Management Council will guide efforts to
minimize or eliminate potential impacts prior to implementation. The FWS will coordinate with the
NMFS regarding surveys for threatened coho salmon presence prior to implementation of habitat
rehabilitation on the Trinity River. The NMFS and FWS will coordinate work windows for these
projects, as needed. Surveys for nesting northern spotted owls and bald eagles will occur in suitable
habitat within a 0.5 mile radius of a project site prior to beginning work activities utilizing motorized
equipment or chain saws. If a nesting owl is detected within a 0.25 mile radius, scheduled work
activities will not occur from February 1 through July 9; if a nesting eagle is detected within a 0.5 mile
radius, scheduled work activities will not occur from January 1 through August 31. Similar surveys will
occur for watershed protection and restoration efforts in upland areas.

Measures will be taken to minimize any increased sedimentation/turbidity in the mainstem from
mechanical disturbance, such as leaving a small berm at the edge of the channel to trap sediments until
all other work is completed. Turbidity and other Clean Water Act standards, as identified by the
Water Quality Control Plan for the North Coast Region, will be monitored and maintained. If
standards are not met, construction activities will cease until such a time that operations or alternatives
can be completed within compliance.

Construction of most project sites will involve removal of riparian vegetation at encroached berm areas.
Construction of these channel rehabilitation sites, as presented in the FEIS, will include areas that are
re-vegetated with willow, cottonwood and/or other shrub/tree species at more appropriate locations on
the floodplains of the rehabilitation sites. Ultimately, natural revegetation and more proper riparian
function will also occur at project sites as flow regime changes are implemented.

The lead agencies have executed a Programmatic Agreement (PA) under Section 106 of the National
Historic Preservation Act with the Hoopa Valley Tribe, the State Historic Preservation Officer for


                                                                                                         C-6
    Case 1:20-cv-01814-JLT-EPG Document 111-2 Filed 12/16/22 Page 44 of 44


California, and the Advisory Council on Historic Preservation. Under the terms of the PA, efforts will
be undertaken to identify historic properties that may be affected by actions to be taken under the
Preferred Alternative, and measures will be identified and implemented to avoid, minimize, or mitigate
potential adverse effects upon those properties.

The segment of the Trinity River between Cedar Flat and Lewiston Dam (river miles 47.5 to 111.9) is a
component of the National Wild and Scenic Rivers System (“System”). This segment is administered
by the National Park Service (NPS) for purposes of review under Section 7 of the Wild and Scenic
Rivers Act. The primary outstanding remarkable value of this section of the Trinity River is recreational.
Mitigation measures intended to address public safety from river flows that are too high or too low will
be implemented as part of the Preferred Alternative. With these measures, the NPS has determined that
implementation of the Preferred Alternative would not have a direct and adverse effect on the values for
which the river was designated into the System. Within the larger segment administered by the NPS,
are segments administered by the US Forest Service (USFS) and the US Bureau of Land Management
(BLM). Both agencies determined that implementation of the Preferred Alternative, as proposed,
would not result in direct and adverse effects to the river.

All other permits or other authorizations (e.g. Section 404 permits for bridge replacement) will be
acquired and other environmental compliance requirements will be satisfied, as necessary, prior to
initiation of any actions under the Preferred Alternative.




                                                                                                      C-7
